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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

RONALD JEFFREY PRIBLE,                 §
            Petitioner,                §
                                       §
v.                                     §
                                       §   CIVIL ACTION NO. 4:09-CV-1896
LORIE DAVIS,                           §        (Death Penalty Case)
Director, Texas Department of          §
Criminal Justice, Correctional         §
Institutions Division,                 §
                   Respondent.         §


                           NOTICE OF APPEAL

      Notice is hereby given that Director Lorie Davis, Respondent in the

above-named case, appeals to the United States Court of Appeals for the Fifth

Circuit the Memorandum Opinion and Order (ECF No. 245), entered on May

20, 2020, and the Final Judgment (ECF No. 246), entered on May 20, 2020,

conditionally granting Petitioner Ronald Jeffrey Prible a writ of habeas corpus.

                                   Respectfully submitted,

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                                   First Assistant Attorney General

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                                   Deputy Attorney General
                                   For Criminal Justice

                                   EDWARD L. MARSHALL
                                   Chief, Criminal Appeals Division
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                                   s/ Jay Clendenin
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                       CERTIFICATE OF SERVICE

       I do herby certify that on June 12, 2020, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Southern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
the following counsel of record, who consented in writing to accept the NEF as
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